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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                       ***

4

5     UNITED STATES OF AMERICA,

6                           Plaintiff,                     2:12-cr-00463-JCM-VCF
                                                           ORDER
7     vs.

8     FREDERICK V. WILLIAMS,

9                            Defendant.

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11            Before the court is Defendant Frederick K. Williams' Motion for Return of Property (#548).

12            IT IS HEREBY ORDERED that a hearing on Defendant Frederick K. Williams' Motion for Return

13   of Property (#548) is scheduled for 10:00 a.m., August 17, 2015, in courtroom 3D.

14            DATED this 5th day of August, 2015.

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17                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
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